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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA             *

             vs.                     *   CRIMINAL NO. MJG-14-0591

ANGELA M. BLYTHE                     *

*        *         *        *        *        *         *        *      *

                            PROCEDURAL ORDER

      Pursuant to the conference held with counsel this date:

    1. The Court, having appointed counsel for Defendant Blythe, must
       provide ample time for counsel to review the record, confer with
       the Defendant, review the pro se filings of the Defendant, and
       determine how best to present potentially valid contentions for
       Defendant.

    2. Defendant, by counsel, shall file a legal memorandum regarding
       the defense position by October 1, 2018.

    3. The Government shall file a response by November 2, 2018.

    4. A motion hearing shall be set by further Order.



      SO ORDERED, this Thursday, June 14, 2018.



                                                    /s/__________
                                              Marvin J. Garbis
                                         United States District Judge
